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 8                             UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    Thane Charman,                                  Case No.: 23-cv-1505-WQH-DEB
12                                      Plaintiff,
                                                      SCHEDULING ORDER
13    v.                                              REGULATING DISCOVERY
                                                      AND OTHER PRE-TRIAL
14    Insurance Supermarket Inc., et al.,
                                                      PROCEEDINGS
15                                   Defendants.
16
17          Pursuant to Rule 16.1(d) of the Local Rules, a Case Management Conference was
18    held on December 20, 2023. After consulting with the attorneys 1 of record for the parties
19    and being advised of the status of the case, and good cause appearing, IT IS HEREBY
20    ORDERED:
21          1.     Any motion to join other parties, to amend the pleadings, or to file additional
22    pleadings shall be filed by February 3, 2024.
23          2.     A telephonic Status Conference will be held on February 23, 2024 at
24    9:30 a.m. Counsel must call the Court’s teleconference line at 1-888-398-2342, enter
25    access code 83-89-272, and press * if prompted for a security code.
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       As used herein, references to “attorneys” and “counsel” include any party representing
      himself or herself.
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 1          3.     All fact discovery shall be completed by all parties by May 24, 2024.
 2    “Completed” means that all discovery under Rules 30-36 of the Federal Rules of Civil
 3    Procedure, and discovery subpoenas under Rule 45, must be initiated a sufficient period of
 4    time in advance of the cut-off date, so that it may be completed by the cut-off date, taking
 5    into account the times for service, notice and response as set forth in the Federal Rules of
 6    Civil Procedure. Counsel shall promptly and in good faith meet and confer with regard
 7    to all discovery disputes in compliance with Local Rule 26.1(a). The Court expects
 8    counsel to make every effort to resolve all disputes without court intervention through the
 9    meet and confer process. If the parties reach an impasse on any discovery issue, counsel
10    shall file an appropriate motion within the time limit and procedures outlined in the
11    undersigned magistrate judge’s chambers rules. A failure to comply in this regard will
12    result in a waiver of a party’s discovery issue. Absent an order of the court, no
13    stipulation continuing or altering this requirement will be recognized by the court.
14          4.     The parties shall designate their respective experts in writing by
15    May 24, 2024. The parties must identify any person who may be used at trial to present
16    evidence pursuant to Rules 702, 703 or 705 of the Fed. R. Evid. This requirement is not
17    limited to retained experts. The date for exchange of rebuttal experts shall be by
18    June 7, 2024. The written designations shall include the name, address and telephone
19    number of the expert and a reasonable summary of the testimony the expert is expected to
20    provide. The list shall also include the normal rates the expert charges for deposition and
21    trial testimony.
22          5.     By June 21, 2024, each party shall comply with the disclosure provisions in
23    Rule 26(a)(2)(A) and (B) of the Federal Rules of Civil Procedure. This disclosure
24    requirement applies to all persons retained or specially employed to provide expert
25    testimony, or whose duties as an employee of the party regularly involve the giving of
26    expert testimony. Except as provided in the paragraph below, any party that fails to
27    make these disclosures shall not, absent substantial justification, be permitted to use
28    evidence or testimony not disclosed at any hearing or at the time of trial. In addition,

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 1    the Court may impose sanctions as permitted by Fed. R. Civ. P. 37(c).
 2           6.     Any party shall supplement its disclosure regarding contradictory or rebuttal
 3    evidence under Fed. R. Civ. P. 26(a)(2)(D) by July 19, 2024.
 4           7.     All expert discovery shall be completed by all parties by August 16, 2024.
 5    The parties shall comply with the same procedures set forth in the paragraph governing
 6    fact discovery.
 7           8.     Failure to comply with this section or any other discovery order of the court
 8    may result in the sanctions provided for in Fed. R. Civ. P. 37, including a prohibition on
 9    the introduction of experts or other designated matters in evidence.
10           9.     All other pretrial motions must be filed by September 13, 2024. Counsel for
11    the moving party must obtain a motion hearing date from the law clerk of the judge who
12    will hear the motion. The period of time between the date you request a motion date and
13    the hearing date may vary from one district judge to another. Please plan accordingly.
14    Failure to make a timely request for a motion date may result in the motion not being heard.
15    Motions in limine are to be filed as directed in the Local Rules, or as otherwise set by the
16    district judge.
17           10.    A Mandatory Settlement Conference shall be conducted on May 9, 2024 at
18    9:30 a.m. in the chambers of Magistrate Judge Daniel E. Butcher. The purpose of the
19    MSC is to permit an informal discussion between the attorneys, parties, and the Magistrate
20    Judge of every aspect of the lawsuit in an effort to achieve an early resolution of the case.
21    Counsel attending the MSC are expected to have a command of the facts and applicable
22    law. Counsel and the parties must be prepared to engage in a detailed discussion of the
23    merits of their respective cases and engage in good faith settlement discussions. All
24    discussions during the MSC are informal, off the record, privileged and confidential.
25    Counsel for any non-English speaking party is responsible for arranging for the appearance
26    of an interpreter at the conference.
27           11.    Pursuant to Local Rule 16.3.b., all parties, party representatives, including
28    claims adjusters for insured parties, and the principal attorney(s) responsible for the

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 1    litigation must participate in the MSC. 2 This appearance must be made with full and
 2    unlimited authority to negotiate and enter into a binding settlement. 3 In the case of a
 3    corporate entity, an authorized representative of the corporation who is not retained outside
 4    counsel must be present and must have discretionary authority to commit the company to
 5    pay an amount up to the amount of the plaintiff’s prayer (excluding punitive damage
 6    prayers). The purpose of this requirement is to have representatives present who can settle
 7    the case during the course of the conference without consulting a superior.
 8          Counsel for a government entity may be excused from this requirement so long as
 9    the government attorney who participates in the MSC (1) has primary responsibility for
10    handling the case; and (2) may negotiate settlement offers that the attorney is willing to
11    recommend to the government official having ultimate settlement authority.
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20    2
       The attendance requirement includes parties that are indemnified by others. Any deviation
21    from this Order requires prior Court approval.
22    3
        Full authority to settle means that the individuals at the MSC are authorized to fully
23    explore settlement options and to agree at that time to any settlement terms acceptable to
      the parties. Heileman Brewing Co., Inc. v. Joseph Oat Corp., 871 F.2d 648, 653 (7th Cir.
24
      1989). The person needs to have “unfettered discretion and authority” to change the
25    settlement position of a party. Pitman v. Brinker Int’l, Inc., 216 F.R.D. 481, 485-486 (D.
      Ariz. 2003). One of the purposes of requiring a person with unlimited settlement authority
26
      to attend the conference is that the person’s view of the case may be altered during the
27    face-to-face conference. Pitman, 216 F.R.D. at 486. Limited or sum certain authority is
      not adequate. Nick v. Morgan’s Foods, Inc., 270 F.3d 590, 595-597 (8th Cir. 2001).
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 1          12.    The Court will use its Zoom4 video conferencing account to hold the MSC. 5
 2    Prior to the start of the MSC, the Court will email counsel an invitation with the Zoom
 3    meeting hyperlink and password to participate in the MSC.6
 4          Each participant should plan to join the Zoom video conference at least five minutes
 5    before the start of the MSC to ensure that the conference begins on time. Zoom’s
 6    functionalities will allow the Court to conduct the MSC as it ordinarily would conduct an
 7    in-person one. The Court will divide participants into separate, confidential sessions, which
 8    Zoom calls Breakout Rooms.7 In a Breakout Room, the Court will be able to confidentially
 9    and individually communicate with participants. Breakout Rooms will also allow parties
10    and counsel to communicate confidentially outside the presence of the Court.
11          Counsel are responsible for ensuring their clients are able to participate in the MSC.
12    All participants must display the same level of professionalism and attention during the
13    MSC as if they were attending in person (e.g., not be driving while speaking to the Court,
14    or otherwise distracted). Participants are encouraged to use laptops or desktop computers
15
16    4
        If you are unfamiliar with Zoom: Zoom is available on computers through a download on
17    the Zoom website (https://zoom.us/meetings) or on mobile devices through the installation
18    of a free app. Joining a Zoom conference does not require creating a Zoom account, but it
      does require downloading the .exe file (if using a computer) or the app (if using a mobile
19    device). Participants are encouraged to create an account, install Zoom and familiarize
20    themselves with Zoom in advance of the MSC. There is a cost-free option for creating a
      Zoom account. For help getting started with Zoom, visit: https://support.zoom.us/hc/en-
21    us/categories/200101697-Getting-Started.
22    5
        Counsel may request the MSC be converted to an in-person appearance informally
23    through a joint call or email to the Court’s chambers (efile_butcher@casd.uscourts.gov).
      Counsel must meet and confer prior to making such a request.
24
25    6
        Participants who do not have Zoom already installed on their device when they click on
      the Zoom meeting hyperlink will be prompted to download and install Zoom before
26
      proceeding.
27
      7
       For more information on what to expect when participating in a Zoom Breakout Room,
28    visit: https://support.zoom.us/hc/en-us/articles/115005769646

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 1    for the video conference, if possible, as mobile devices often offer inferior performance.
 2    Because Zoom may quickly deplete the battery of a participant’s device, each participant
 3    should ensure that their device is plugged in or that a charging cable is readily available
 4    during the video conference.
 5          13.   No later than May 2, 2024, counsel for each party must send an e-mail to the
 6    Court at efile_butcher@casd.uscourts.gov containing the following:
 7          a.    The name and title(s)/position(s) of each participant, including counsel, all
 8                parties and party representatives, and claims adjusters;
 9          b.    An e-mail address for each attorney participant to receive the Zoom video
10                conference invitation;
11          c.    A telephone number where each attorney participant may be reached so that,
12                if technical difficulties arise, the Court will be in a position to proceed
13                telephonically instead of by video conference; and
14          d.    A Confidential MSC Conference Statement. 8 All confidential MSC
15                Statements must include:
16                i.     the party’s position on liability and damages supported by relevant
                         facts, a discussion of the significant facts established during discovery,
17
                         and legal analysis with citations to controlling legal authority. The
18                       parties are also encouraged to attach a chronology setting forth a
                         timeline of the events at issue. If submitted, the chronology should be
19
                         in a chart or column format with the column headings “DATE” and
20                       “EVENT.” The chronology is not counted against the page limits;
21
                  ii.    for plaintiff(s), a specific and current settlement demand addressing all
22                       relief sought and an itemization of the damages sought, and, for
                         defendant(s), a specific and current offer and the bases for that offer.
23
                         (Note: a general statement that a party will “negotiate in good faith,”
24                       “offer a nominal cash sum,” or “be prepared to make a demand or offer
                         at the conference” is not a specific demand or offer. If a specific offer
25
                         or demand cannot be made at the MSC, state the reasons why and
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27    8
        The Court does not require MSC Statements to be served on other parties; however, the
      parties may elect to share statements at their discretion. These statements are not to be
28    filed on the CM/ECF system.

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 1                          explain what additional information is required to make a settlement
                            demand or offer.);
 2
 3                   iii.   a brief description of any previous settlement negotiations or
                            mediations; and
 4
 5                   iv.    the names of attorney(s) and non-attorney(s) who will attend the
                            conference, including the name(s) and title(s)/position(s) of the
 6
                            party/party representative(s).
 7
 8             14.   In jury trial cases before Judge Hayes, neither party is required to file
 9    Memoranda of Contentions of Fact and Law.
10             15.   Counsel shall comply with the pre-trial disclosure requirements of Fed. R.
11    Civ. P. 26(a)(3) by December 18, 2024. Failure to comply with these disclosure
12    requirements could result in evidence preclusion or other sanctions under Fed. R. Civ. P.
13    37.
14             16.   Counsel shall meet and take the action required by Local Rule 16.1(f)(4) by
15    December 26, 2024. At this meeting, counsel shall discuss and attempt to enter into
16    stipulations and agreements resulting in simplification of the triable issues. Counsel shall
17    exchange copies and/or display all exhibits other than those to be used for impeachment.
18    The exhibits shall be prepared in accordance with Local Rule 16.1(f)(4)(c). Counsel shall
19    note any objections they have to any other parties’ Pretrial Disclosures under Fed. R. Civ.
20    P. 26(a)(3). Counsel shall cooperate in the preparation of the proposed pretrial conference
21    order.
22             17.   Counsel for plaintiff will be responsible for preparing the pretrial order and
23    arranging the meetings of counsel pursuant to Civil Local Rule 16.1(f). By January 2,
24    2025, plaintiff’s counsel must provide opposing counsel with the proposed pretrial order
25    for review and approval. Opposing counsel must communicate promptly with plaintiff’s
26    attorney concerning any objections to form or content of the pretrial order, and both parties
27    shall attempt promptly to resolve their differences, if any, concerning the order.
28    //

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 1          18.    The Proposed Final Pretrial Conference Order, including objections to any
 2    other parties’ Fed. R. Civ. P. 26(a)(3) Pretrial Disclosures shall be prepared, served and
 3    lodged with the assigned district judge by January 8, 2025, and shall be in the form
 4    prescribed in and comply with Local Rule 16.1(f)(6).
 5          19.    The final Pretrial Conference is scheduled on the calendar of the Honorable
 6    William Q. Hayes on January 15, 2025 at 9:00 a.m.
 7          20.    The parties must review the chambers’ rules for the assigned district judge
 8    and magistrate judge.
 9          21.    A post trial settlement conference before a magistrate judge may be held
10    within 30 days of verdict in the case.
11          22.    The dates and times set forth herein will not be modified except for good cause
12    shown.
13          23.    Briefs or memoranda in support of or in opposition to any pending motion
14    shall not exceed twenty-five (25) pages in length without leave of a district court judge.
15    No reply memorandum shall exceed ten (10) pages without leave of a district court judge.
16    Briefs and memoranda exceeding ten (10) pages in length shall have a table of contents
17    and a table of authorities cited.
18          24.    Plaintiff’s counsel shall serve a copy of this order on all parties that enter this
19    case hereafter.
20          IT IS SO ORDERED.
21    Dated: December 21, 2023
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